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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 15-20723
                                                    Hon. Matthew F. Leitman
v

D-1, JORGE AZAR,

          Defendant.
_________________________________________________________________/

    ORDER TO ADMIT INTERPRETER TO ATTORNEY-CLIENT VISIT

      The case having come before the Court on Defendant’s Ex Parte motion to

allow a Spanish language interpreter to accompany defense counsel to attorney-client

visits with Defendant Jorge Azar, and the Court being fully advised in the premises,

      IT IS HEREBY ORDERED that a Spanish language interpreter be permitted

to accompany John Minock, attorney for Jorge Azar, to attorney-client visits with Mr.

Azar at the Federal Detention Center in Milan, Michigan.



                                       /s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: December 10, 2015
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 10, 2015, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (313) 234-5113
